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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA for the Use
 and Benefit of BROOKS BROTHERS
 PAINTING OF ROCHESTER, INC.,

                           Plaintiff,
                                                               NOTICE OF APPEARANCE
 v.
                                                                    Case No.: 18-cv-6828
 AMBUILD COMPANY, LLC, GLOBAL
 URBAN ENTERPRISES, L.L.C., and
 LIBERTY MUTUAL INSURANCE
 COMPANY,

                           Defendants.


       PLEASE TAKE NOTICE that André L. Lindsay, Esq., of the Law Offices of Pullano &

Farrow PLLC, hereby appears as counsel on behalf of AmBuild Company, LLC, Global Urban

Enterprises, L.L.C., and Liberty Mutual Insurance Company, in the above-captioned action, and

respectfully requests that a copy of all notices and other papers therein be served upon the

undersigned at the office and post office address stated below.


Dated: March 15, 2019
       Rochester, New York
                                                             PULLANO & FARROW

                                                       By:     /s/ André L. Lindsay      _
                                                             André L. Lindsay, Esq.
                                                             Attorneys for AmBuild Company,
                                                             LLC, Global Urban Enterprises,
                                                             L.L.C., and Liberty Mutual
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